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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF MICHIGAN
                                SOUTHERN DIVISION


FMIO, INC. and
RICHARD A. GARST,

             Plaintiffs,                               Civil Action No. 09-12561
vs.
                                                       HON. BERNARD A. FRIEDMAN
TOWNSHIP OF SUMMERFIELD
MICHIGAN, et al.

            Defendants.
________________________________/


                                   JUDGMENT


             The court has granted defendants’ motion for summary judgment.

       Accordingly,

              IT IS ORDERED AND ADJUDGED that judgment be and is hereby granted for
defendants and against plaintiffs. Costs to be permitted in accordance with law.


                                                DAVID J. WEAVER
                                                CLERK OF COURT


                                                By:_Carol L. Mullins______
                                                      Deputy Clerk


December 17, 2010

Approved:__s/Bernard A. Friedman_______
         BERNARD A. FRIEDMAN
         U.S. DISTRICT JUDGE
